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         23-6247-cr                              To be argued by:
                                                   DARRELL FIELDS
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                  United States Court of Appeals
                       for the Second Circuit
                      _______________________

                      Docket No. 23-6247-cr
                _________________________________

                     UNITED STATES OF AMERICA,

                                                      Appellee,

                                -against-

             ETHAN PHELAN MELZER, a/k/a ETIL REGGAD,

                                             Defendant-Appellant.
           __________________________________________

                  APPEAL FROM A FINAL JUDGEMENT
               OF THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK
_________________________________________________________________

        BRIEF FOR DEFENDANT-APPELLANT ETHAN PHELAN MELZER
_________________________________________________________________

                            FEDERAL DEFENDERS OF NEW YORK, INC.
                               APPEALS BUREAU
                            52 Duane Street, 10th Floor
                            New York, New York 10007
                            Tel. No.: (212) 417-8742

                            Attorney for Defendant-Appellant
                                 ETHAN PHELAN MELZER

DARRELL FIELDS,
   Of Counsel
_________________________________________________________________
_________________________________________________________________
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The sentencing court’s reference to Melzer’s dislike of
“Judeo and Christian values” created the appearance that
the length of the sentence the court imposed was affected
by a constitutionally impermissible consideration, and
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                  United States Court of Appeals
                       for the Second Circuit
                      _______________________

                      Docket No. 23-6247-cr
                _________________________________

                     UNITED STATES OF AMERICA,

                                                      Appellee,

                                -against-

             ETHAN PHELAN MELZER, a/k/a ETIL REGGAD,

                                             Defendant-Appellant.
           __________________________________________

                  APPEAL FROM A FINAL JUDGEMENT
               OF THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK
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        BRIEF FOR DEFENDANT-APPELLANT ETHAN PHELAN MELZER
_________________________________________________________________

   JURISDICTIONAL STATEMENT PURSUANT TO FED. R. APP. P. 28(A)

     This is an appeal from a final judgment of conviction

rendered on March 3, 2023, and entered on March 6, 2023, in the

United States District Court of the Southern District of New York

(Honorable Gregory H. Woods). A.146-52.1 Jurisdiction of the

appeal is in this Court pursuant to 28 U.S.C. § 1291 and 18

U.S.C. § 3742(a). Jurisdiction was in the district court under 18

U.S.C. § 3231. A timely notice of appeal was filed on March 10,


     1
        “A.” references are to the relevant pages of the Appendix
for Appellant Ethan Phelan Melzer.

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2023. A.153.

                          QUESTION PRESENTED

     In imposing the maximum sentence of 45 years’ imprisonment,

the sentencing court commented on the defendant’s opposition to

“Judeo and Christian values.” And it indicated a view, in

apparent opposition to the defendant’s, that “those values” are

“good for civilization.” A.129.

     The question presented is whether a resentencing is required

because the court’s remarks created a “sufficient risk that a

reasonable observer, hearing or reading [them], might infer” that

a constitutionally impermissible factor —— i.e., the defendant

and the court’s differing views concerning the values of certain

religions —— “played a role in determining [the] sentence.” See

e.g., United States v. Kaba, 480 F.3d 152, 157 (2d Cir. 2007)

(resentencing required because of sentencing court’s reference to

constitutionally impermissible factor of national origin).

                        STATEMENT OF THE CASE

                        PRELIMINARY STATEMENT

     Ethan Melzer pleaded guilty to attempted murder of United

States service members (18 U.S.C. § 1114); providing material

support to terrorists (18 U.S.C. § 2339A); and transmitting

defense information (18 U.S.C. § 793(d)). The offenses carried

maximum prison sentences of 20, 15, and 10 years, respectively.

The district court imposed the statutory maximum sentence of 45


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years’ imprisonment.

     On appeal, this Court continued the Federal Defenders of New

York, Inc., as counsel to Ethan Melzer.

                          STATEMENT OF FACTS

A.   The offense

     In May 2020, 21-year-old Ethan Melzer was a private in the

United States Army stationed in Vicenza, Italy. PSR at 18, 21,

34, ¶¶ 39, 51, 113.2 He communicated via the internet with people

purporting to be part of a Satanic cult with white supremacist

beliefs known as the “Order of Nine Angels” or “O9A.” PSR at 8,

21-25; A.31.

     “O9A’s ideology is centered on the worship of Satan” and the

supremacy of the white race. PSR at 8, ¶17. It espouses a

Satanist, “Neo-Nazi,” “and pro-jihadist ideology.” Id. “O9A

teaches that the natural state of the world is a pagan society”

in which “‘survival of the fittest,’” dominates, “and that

Western civilization has deviated from this natural ethos by

restraining violence, embracing multiculturalism, and imposing

social norms derived from Judeo-Christian beliefs.” PSR at 8,

¶17. It advocates the “overthrow [of] Western civilization,” “in

the hopes of giving way to this purported ‘natural’ order of

     2
        “PSR” references are to the Probation Office’s Presentence
Investigation Report. The Report was prepared on November 4, 2022,
and revised on February 13, 2023. It includes an Addendum (PSR at
39-40) and a Sentencing Recommendation (PSR at 41-47). The PSR is
Document 158 in the district court’s docket sheet for the case.

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chaos.” Id.

     In early May 2020, Melzer learned that his platoon would be

assigned to a military base in Turkey. PSR at 21, ¶51. “By May

17, 2020, [Melzer] had informed CC-1 of the upcoming deployment.”

Id. at 23, ¶56. CC-1 pretended to be a veteran of the Canadian

army. After Melzer’s arrest, the Government determined that CC-1

was “a minor” residing in Canada and “posing [online] as a

Canadian ex-paratrooper.” PSR at 9, n.2. Id.

     “That day,” May 17, 2020, CC-1 texted Melzer that he had

contacted someone in the Grey Wolves — “a Turkish far-right

organization” (PSR at 23, n.21) — about staging an attack on

Melzer’s 40-member unit after it arrived in Turkey. PSR at 23,

29, ¶¶56, 74. Melzer responded positively, and “expanded on his

belief that al Qaeda could assist” in an attack. Id. at 23, ¶56.

     In the nine days between May 21 and May 29, 2020, Melzer,

calling himself “‘Etil Reggad’ identified himself in at least two

O9A ... chats as a member the U.S Army,” stationed in Italy “set

to depart on a deployment to Turkey.” PSR at 24, ¶59.

     On May 23, 2020, CC-1 forwarded four of Melzer’s

communications “about the proposed attack on his Platoon” to an

O9A chat group “with 18 members, including [Melzer] and an FBI

confidential source (‘CS’).” PSR at 24, ¶59. Melzer “and the

group members discussed the possibility of a jihadist attack on

the Platoon’s deployment[.]” Id. On May 24, 2020, “CC-1 asked


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[Melzer], ‘are we literally organizing a jihadi attack[?]’

[Melzer] replied, ‘And yes probably . . . as long as I get the

info I need to give you all.’” Id. ¶60 (ellipsis in PSR).

     On May 25, 2020, Melzer gave CC-1 information about the

deployment, such as the number of soldiers in his platoon and how

they were armed. PSR at 25, ¶62. “Later that day, CC-1 started a

smaller, invite-only chat group on Telegram and invited vetted

participants, including MELZER, CC-3, and the CS.” PSR at 25,

¶62. In a post-arrest interview, Melzer “identified [CC-3] as a

Turkish or Arab male in his 20s or 30s[.]” PSR at 27, ¶65. They

discussed giving Melzer’s information “to jihadists who would

commit the attack[.]” PSR at 25, ¶62.

     The discussions also shifted, away from an attack Melzer’s

unit, to an attack on a supposed “replacement unit” that would

“replace [Melzer’s] Platoon in several months.” PSR at 25, 26-27

¶¶62, 64. And on May 26th, CC-1 wrote the group that there was

not a coherent plan, saying: “other than a really basic plan of

attack and a lot of info, we don’t really have much else. And a

plan of attack doesnt work without people to ... you know, do the

attack.” Dist. Ct. Docket Entry 159 at 16 (sentencing letter of

Feb. 3, 2023).

     Melzer did not contact the group again until May 29, 2020.

PSR at 27, ¶66. He told CC-1 he had no additional information to

provide until he arrived in Turkey. PSR at 27-28, ¶66. This was


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his last communication with CC-1. The confidential source

contacted law enforcement, and Melzer was arrested on May 30,

2020. PSR at 28, ¶69. On that day, Melzer made statements to

military and FBI investigators. On June 11, 2020, he was flown to

the Southern District of New York and was interviewed two more

times by FBI, once on the flight to the United States and again

after landing in the Southern District. PSR at 28-29, ¶¶69-73.

     Melzer received a “less than honorable discharge” from the

Army in 2022. PSR at 34, ¶113. He was prosecuted in civilian

court.

B.   The guilty plea

     “Superseding Indictment S1 20 CR 314 (GHW) was filed in the

Southern District of New York on August 18, 2020[.]” PSR at 3,

¶1; A.30-43 (superseding indictment).

     On June 24, 2022, Melzer appeared before Honorable Gregory

H. Woods and pleaded guilty to three counts of the eight-count

indictment: (1) attempted murder of United States service

members, in violation of 18 U.S.C. § 1114 (Count Four); (2)

providing and attempting to provide material support to

terrorists, in violation of 18 U.S.C. § 2339A (Count Five); and

(3) transmitting national defense information, in violation of 18

U.S.C. § 793(d) (Count Seven). P.2, 10-16; A.53, 61-67.3


     3
       Numerals preceded by “P.” and “S.” refer, respectively, to
the transcripts of the guilty plea allocution (on June 24, 2022)
and of the sentencing proceeding (on March 3, 2023).

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     The parties had entered a plea agreement. A.44-51. The

agreement calculated an offense level of 43. And even though his

“Criminal History Category is I[,]” under Sentencing Guidelines §

3A1.4(b) he was in Criminal History Category VI because the

offenses involved or were intended to promote federal crimes of

terrorism. A.47. These calculations resulted in a Guidelines

range of life imprisonment. “[H]owever, because the statutorily

authorized maximum sentence for Counts Four, Five, and Seven is

540 months’ imprisonment ... the applicable range is 540 months’

imprisonment[.]” Id. (citing Sentencing Guidelines § 5G1.1(a)).

     The parties also agreed that “the defendant will not file a

direct appeal, nor bring a collateral challenge ... of any

sentence at or below the Stipulated Guidelines Sentence of 540

months’[.]” A.48.

     During the guilty plea allocution —— on June 24, 2022 ——

the district court reviewed the plea agreement with Ethan Melzer.

P.20-21; A.71-72. It told him that, under the plea agreement,

“[y]ou’ve agreed not to file a direct appeal or to bring a

collateral challenge ... of any sentence at or below the

stipulated guideline sentence of 540 months’ imprisonment.” P.21;

A.72. Melzer said he understood the provision and was willing to

waive those rights. P.22; A.73.

     The court asked Melzer what he had done that made him guilty

of the charges. P.23; A.74. He said that, in May 2020, he


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“disclosed sensitive information about my Army unit's upcoming

deployment to individuals I was communicating with on the online

in the messaging app, Telegram[,]” with the intent that U.S.

service members be killed. Id. Melzer added that “through the

same conduct, I provided material resources knowing that they

were to be used in preparation for the attempted murder of U.S.

service members.” Id. He said he understood that the information

he disclosed “was sensitive national defense information, and

that the individuals I provided it to online were not entitled to

receive it.” Id. He told the court: “I'm sorry, and I regret

every single thing I did.” Id.

C.   The Probation Office’s Guidelines calculation and Sentencing
     Recommendation


     The PSR states that its “guideline calculations reflect the

same calculations as the plea agreement.” PSR at 35, ¶124. It

calculated the total offense level as 43. Id. at 30-31, ¶¶81-90.

The PSR noted that Melzer had no adult convictions. Id. at 31,

¶92. But “[t]he offense involved a federal crime of terrorism;

therefore, the criminal history category is VI.” Id., ¶95 (citing

U.S.S.G. § 3A1.4(b)).

     The PSR also contained a “Sentencing Recommendation.” PSR at

41-47. It recommended a downward “variance” from the Guideline

term of 540 months’ to a sentence of 300 months’ (25 years)

imprisonment. Id. at 41.


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     The PSR explained that, in making the recommendation, it was

taking into account “that Melzer is a 24-year old, first-time

offender facing 45 years in prison. He endured a difficult

upbringing marred by reported family violence and his own

reported sexual abuse victimization.” PSR at 43. The PSR’s

recommendation added: “Our      hope is that a 25-year prison term is

sufficient to protect the public from further harm, to provide

just punishment, and will allow Melzer to receive services to

address and overcome the issues which led to his criminality,

while avoiding having him spend almost all of his adult life in

prison as called for by the       guidelines.” Id.

D.   Ethan Melzer’s background and characteristics

     Before sentencing, Ethan Melzer was examined by Eric Mercer,

L.C.S.W. who prepared a report about Melzer’s developmental and

psychosocial history. See Report of Erik Mercer, L.C.S.W., dated

Jan. 31, 2023 (“Mercer Rep’t”). Melzer’s background and personal

characteristics were also briefly discussed in the PSR. See PSR

at 32-33, ¶¶99-104.

     1.   Personal history

     Ethan Melzer was born in May 1998 in Louisville, Kentucky,

the only child of “Nicholas Melzer and Julie Presley, nee

Anderson.” PSR at 32, ¶99. His parents separated when he was

three years old, and he lived with his mother. Id.; Mercer Rep’t

at 3. But his mother “and her long-term boyfriend, Damon


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Stringer, were both severe alcoholics[.]” See Mercer Rep’t at 3.

Stringer “became belligerent when drunk and most days were

punctuated by episodes of eruptive violence.” Id.

     Melzer’s childhood was thus “‘chaotic as hell.’” Mercer

Rep’t at 3. Ethan’s father did not intervene; he remarried, and

his new wife wanted him “to focus on his new family and leave

Ethan behind.” Id. at 3.

     Ethan also grew up “in a family and community environment in

which hate was normative.” Mercer Rep’t at 5. His mother’s “overt

racism was grounded in her grandfather’s proud membership in the

Klu Klux Klan.” Id. at 4. And Damon Stringer “spewed hatred

toward people of color, Jews and gays at any opportunity.” Id.

     “When Ethan started school, the classroom did not provide

respite from the alienation he felt at home.” Mercer Rep’t at 4.

As an overweight child, he was teased relentlessly. Id. He also

was “taunted daily and called a ‘pussy’ and a ‘bitch’” and

“‘soft.’” Id. “A particular source of ridicule was Ethan’s love

of art and music. Ethan learned quickly that ... art and music

were considered feminine pursuits.” Id.

     So, starting as early as elementary school, “Ethan retreated

into the isolat[ed] world of internet message boards and

multi-player video games,” spending about “nine hours a day

online.” Mercer Rep’t at 4. His “interest in ghosts and the

paranormal” led him to the “4chan message boards,” where he


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accessed videos, images of violence, “and a wide range of

unmonitored, illegal content.” Id.

     The Neo-Nazi content “was prolific on the 4chan message

boards[.]” Id. But “he was surrounded by people who espoused

those same values publicly.” Id. He also suffered other trauma

growing up. He was sexually abused by Damon Stringer’s teenage

son starting at age seven and lasting several years. See Mercer

Rep’t at 13-14.

     In middle school, he continued spending “the bulk of his

free time on-line[,]” video gaming and watching “shock content on

4chan message boards” as a distraction from the “chaos of his

home life[.]” Mercer Rep’t at 5.

     “Middle school was also a time when Ethan was becoming more

aware of his homosexuality.” Id. His “insecurity and self-doubt

deepened as he came to terms with being gay.” Mercer Rep’t at 5.

He “was terrified that his secret would be discovered.” Id. He

recalled: “‘I was a total outcast. I couldn’t relate to

anyone....The only thing I knew for sure was, don’t be gay.’” Id.

at 5-6. This heightened his need “to mask his authentic self[.]”

Id. at 6.

     In the seventh grade, a friend offered him some marijuana,

and “Ethan quickly realized that he had found the perfect mask.”

Mercer Rep’t at 6. He did not like its effects, “but the effect

it had on the way people treated him was seismic.... [A]lmost


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instantly, he began experiencing a respect from his peers that

was unprecedented.” Id. “[H]e was becoming cool.” Id.

     Ethan Melzer’s drug use coincided with his mother’s

increasing abuse of alcohol. “[W]hen Ethan was in the 7th grade,”

“she fell into a deep depression” (because of her father’s death)

and drank even more excessively. Mercer Rep’t at 6, 7. When Ethan

began smoking marijuana with friends, “his mother smoked it with

him too.” Id. at 6.

     For Ethan, this was “a period of ‘free reign.’” Mercer Rep’t

at 6. He “frequently stayed home and played video games during

the school day.” Id.

     By the time he entered high school, “the only reliable

communities in his life were his drug friends and his online

community.” Mercer Rep’t at 6. By the tenth grade, he was using

methamphetamine daily and dropped out of school completely at the

end of the 10th grade. Id.

     “Without the minimal structure offered by school attendance,

Ethan’s life coalesced entirely around drugs.” Mercer Rep’t at 7.

     When he was about age 16, his mother “split with [Damon]

Stringer,” and she married Brian Presley who was “physically

abusive toward Ms. Presley.” And when Ethan Melzer attempted to

intervene, Brian Presley responded violently. Eventually, “Ethan

fled to the home of a friend in downtown Louisville after being

brutally assaulted by Mr. Presley.” Mercer Rep’t at 7.


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      He remained marginally housed for about a year when he was

ages 16 and 17. Mercer Rep’t at 7. He worked at fast-food

restaurants “and he sold drugs to pay for his deepening

methamphetamine habit.” Id. He became involved in dangerous

situations including wounding another drug dealer using a

firearm. See PSR at 10-11, ¶21 (discussing the shooting).

     But around that time, he decided to stop using drugs. See

Mercer Rep’t at 7. He returned to his mother’s home and got a job

cooking and cleaning at the Shiraz restaurant in Louisville. Id.

His former boss at Shiraz boss, Chris Enochs, remembers that

Ethan was “‘down on his luck,’” but “‘always            showed up clean and

appropriate and he was always pleasant. He wanted to do well. He

usually had to walk four miles to and from work because his

mother wouldn’t drive him.’” Mercer Rep’t at 7.

     Enochs told Ethan Melzer about the Department of Labor’s Job

Corp program — a residential job training and education program

for young people. See Dist. Ct. Docket Entry 157 at 8. On

September 10, 2018, Ethan Melzer arrived at the Jobs Corps campus

in Muhlenberg, Kentucky, where he remained for about nine or ten

months until about June 2019, when he reported to the Army. See

Mercer Rep’t at 8; PSR at 33, ¶111. While in the Job Corp, he

“obtained his high school diploma” and “specialized training as a

heavy equipment operator[.]” PSR at 33-34, ¶¶111-12.

     The defining characteristic of Ethan’s time in Job Corps


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“was not Neo-Nazi ideology and anti-American sentiment; it was

discipline. Ethan responded well to the structure of the program

and impressed his instructors and counselors with his steady

preparation to enlist in the military.” And he focused on

physical fitness. Mercer Rep’t at 9-10.

     On June 14, 2019, Ethan Melzer traveled to Fort Benning,

Georgia, for basic training. Mercer Rep’t at 10. It was one of

the best times of his life. Id. The training drills were intense.

But he said: “There was always something to do and no matter how

hard it was we were all in it together.” Id. He “was elected by

his unit to a team leader[.]” Mercer Rep’t at 10.

     After three months, “Ethan moved on to Airborne School at

Fort Benning.... [F]ew of his fellow soldiers in basic training

went on to Airborne School because it required a high

physical-training score and a high Armed Services Vocational

Aptitude Battery (ASVAB) test, both of which he had achieved.”

Mercer Rep’t at 10. When he graduated, he was so positive about

himself “that he worked up the courage to attend an LBGT rights

rally in Atlanta,” though he left quickly, fearful of being seen.

See Mercer Rep’t at 11.

     In about September 2019, Ethan Melzer “was shipped to Camp

Ederle in Vicenza, Italy.” Mercer Rep’t at 11; see PSR at 18,

¶39. But “his hopes for a continued sense of support and

community were shattered” Mercer Rep’t at 11. The people in the


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new unit were unwelcoming. “No one from his basic training unit

had been sent to Camp Ederle and Ethan knew no one.” Mercer Rep’t

at 11. “The loss of support and connection was abrupt and Ethan

fell into a depression and began drinking more heavily.” Id.

After the positive communal experience of basic training, he

suddenly found himself isolated and alone. “The loss was

traumatic as his tenuous sense of community and protection broke

down. Ethan regressed to a childhood state and returned to the

familiar realm of internet messaging boards. The immaturity and

distorted perceptions that characterized his earlier engagement

on Discord returned and prompted Ethan to make a series of

catastrophic decisions that led to his offense.” Mercer Rep’t at

11.

      Also, in February 2020, the COVID-19 pandemic struck Italy.

The country’s lockdowns extended to Melzer’s army unit in

Vicenza. His Unit stopped training, and he languished in his

room, retreating to te internet. Dist. Ct. Docket Entry 157 at

13-14.

      2.   Mitigating circumstances

      “Ethan’s life can be understood as a cascade of risk factors

with minimal protective factors to protect him from their toxic

impact.” Mercer Rep’t at 12. Growing up, he suffered recurrent

physical and emotional abuse and also contact sexual abuse. His

mother and her long-term boyfriend, Damon Stringer, were


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alcoholics. Id. at 12-14. And he grew up in a family and social

environment in which hate speech was normative. See Mercer Rep’t

at 14. “As an overweight, sensitive, gay boy in a hyper-masculine

environment defined by intolerance[.]” Mercer Rep’t at 14. “Ethan

was desperate to distract others from what was at his core.” Id.

     In addition, his “youth at the time of the offense is an

additional factor that weighs heavily on his behavior.” Mercer

Rep’t at 14. The availability of brain imaging technology has

provided new insight into the significant brain development that

occurs between the ages of twelve and twenty-five. Id.

“Adolescents, as a group, are less capable than adults of

accurately assessing risks and rewards; controlling their

impulses; and recognizing and       regulating emotional responses —

in short, they are less consistent in their ability to

self-regulate their behavior.” Id. at 14 (citation omitted).

     But “[i]n the time since the instant offense, Ethan has

engaged in an earnest and thoughtful attempt to understand the

dynamics that led to the offense behavior.” Mercer Rep’t at 16.

He is now living “authentically.” “Ethan has come out as a gay

man to everyone in his prison unit and is widely respected and

liked.” See Mercer Rep’t at 16. He had “spent a lifetime trying

to distract the people around him from his authentic self” and

retreated into the internet. Id. But the experience of “living

authentically for the first time has led to an internal


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recalibration for Ethan; ... the organizing principle of his life

is now about authenticity rather than fear, shame and secrecy.”

Id. “Prison has, unexpectedly, offered Ethan an opportunity for

authentic expression for the first time in his life.” The

identity he had cultivated “for acceptance in his world of

intolerance no longer has utility.” Id. He has been “surprised

and delighted by his ability to find acceptance as an openly gay

man.” Id.

E.      The sentencing

        1. The parties’ sentencing submissions

        Defense counsel argued that a sentence of 15 years’

imprisonment was appropriate in this case, under the parsimony

clause of 18 U.S.C. § 3553(a). See Dist. Ct. Docket Entry 157, at

1-28.

        The government disagreed, arguing for the imposition of the

maximum prison sentence of 45 years. See Dist. Ct. Docket Entry

159, at 1-86.

        2. The sentencing proceeding

        At the sentencing, on March 3, 2023, the parties again

advocated their positions on the appropriate sentence. S.9-32;

A.93-116. The court also heard victim impact statements from Army

Captain Joshua Krause, who prepared the classified and

unclassified intelligence briefings for Melzer’s platoon (S.32-

36; A.116-20); and from Captain Jacob Ferris, the platoon leader.


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S.36-42; A.120-26.

      The court then pronounced the sentence. The court set forth

the 18 U.S.C. § 3553(a) factors, after which it stated that it

was going to impose a maximum sentence of 540 months’ in prison.

S.42-44; A.126-28. It then turned to the justification for the

maximum sentence.

     In discussing “the nature of the offense,” the court

referred to Ethan Melzer’s antipathy toward “Judeo-Christian

values.” S.45; A.129. The court stated that Melzer’s crimes were

repugnant. He had betrayed the United States and the United

States military. “All so he could achieve his nihilist goal of

undermining Judeo-Christian values and rupturing civilized

society.” S.44-45; A.128-29.

     The court described O9A as a Satanist, white nationalist,

pro-jihadist group that promotes using violence “to accelerate

and cause the demise of western civilization.” S.45; A.129. The

court then again referenced Melzer’s opposition to certain

religious values because such values benefit civilization. It

stated: “The organization [O9A] and Mr. Melzer opposed those

Judeo and Christian values because they are good for

civilization.” S.45; A.129. “In [O9A’s] view, as embraced by Mr.

Melzer, those values hold us back from the state of nature and

are holding us back from what it and Mr. Melzer views as the

natural order –- chaos.” S.45; A.129.


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     The court noted that Melzer had tattooed himself “with a

symbol for chaos, reflecting his mission to destroy western

civilization to give way to satanic forces” and violence. S.45-

46; A.129-30. He engaged with O9A, the court said, because he

“sought out fellowship with people that shared his belief

system.” S.52; A.136.

                          SUMMARY OF ARGUMENT

     In imposing a maximum 45-year prison sentence, the court,

unprompted, made comments indicating its personal views on the

defendant’s stance regarding the values and beliefs of certain

religions. In particular, it stated that he “opposed those Judeo

and Christian values” that “are good for civilization.” S.45;

A.129. He sought to “undermin[e] Judeo-Christian values,” the

court said, and thereby “ruptur[e] civilized society.” S.45;

A.129. At the sentencing, neither party discussed Melzer’s or

O9A’s opposition to Judeo-Christian values.

     It is impermissible for a court to punish someone for not

following, for disliking, or for opposing the beliefs of any

particular religion. And a court cannot incorporate the view that

certain religions are “good for civilization” into its

justification for the imposition of a sentence. Due process

forbids the imposition of a sentence on the basis of

constitutionally impermissible considerations, such as the

defendant’s race and national origin. United States v. Leung, 40


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F.3d 577, 586 (2d Cir. 1994) (“A defendant’s race or nationality

may play no adverse role in the administration of justice,

including sentencing”); United States v. Borrero-Isaza, 887 F.2d

1349, 1352-57 (9th Cir. 1989) (sentencing more harshly based on

ethnicity or national origin violates due process) (cited in

Leung, id. at 586). “While these cases focused on a defendant’s

characteristics, ... similar principles apply when a judge

impermissibly takes his own religious characteristics into

account at sentencing.” United States v. Bakker, 925 F.2d 728,

740 (4th Cir. 1991). In addition, “[t]he First Amendment forbids

the uncabined reliance on a defendant’s ‘abstract beliefs’ at

sentencing.” United States v. Fell, 531 F.3d 197, 228 (2d Cir.

2008) (quoting Dawson v. Delaware, 503 U.S. 159, 166-67 (1992);

see also Wisconsin v. Mitchell, 508 U.S. 476, 485-86 (1993) (“a

defendant’s abstract beliefs, however obnoxious to most people,

may not be taken into consideration by a sentencing judge”).

     “[P]roof of actual bias” is not “necessary to warrant

vacatur of the sentence” under these circumstances because, even

the appearance that a sentence was based on a constitutionally

impermissible factor, requires vacatur. United States v. Kaba,

480 F.3d 152, 156-57 (2d Cir. 2007); Leung, 40 F.3d at 586 (even

the appearance of bias, rather then actual bias, is reversible

error because “justice must satisfy the appearance of justice”).

     Therefore, when “there is a sufficient risk that a


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reasonable observer, hearing or reading the quoted remarks, might

infer, however incorrectly,” that an unconstitutional factor

“played a role in determining [the] sentence,” the sentence

should be vacated, and the case remanded for resentencing before

a different judge. See Leung, 40 F.3d at 587 (“the appearance of

justice is better satisfied by assigning the resentencing to a

different judge”); accord Kaba, 480 F.3d at 159 (same).

                                 ARGUMENT

     The sentencing court’s reference to Melzer’s dislike of
     “Judeo and Christian values” created the appearance
     that the length of the sentence the court imposed was
     affected by a constitutionally impermissible
     consideration, and requires that the case be remanded
     for sentencing.


1.   The appeal waiver of the plea agreement is unenforceable
     because the case concerns an “arguably unconstitutional” use
     of Melzer’s opposition to certain religions, to “Judeo and
     Christian values,” at the sentencing.


     Ethan Melzer’s general waiver of the right to appeal a

sentence of 540 months or below (A.48-49), does not preclude him

from raising the issue presented in this appeal.

     Although a voluntary waiver of the right to appeal “a

sentence within an agreed upon guideline range is enforceable,”

United States v. Lee, 523 F.3d 104, 106 (2d Cir. 2008) (citations

and internal quotation marks omitted), this Court has held that

such waivers are invalid “when the sentence imposed was based on

constitutionally impermissible factors,” such as ethnic, racial,

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“or other prohibited biases.” United States v. Gomez-Perez, 215

F.3d 315, 319 (2d Cir. 2000); accord United States v. Riggi, 649

F.3d 143, 147 (2d Cir. 2011) (“[W]e have voided appeal waivers

where the sentence imposed was based on unconstitutional factors

-- such as race, naturalized status, or inability to pay

restitution”) (citations omitted).

     A waiver of the right to appeal “does not shield from review

a sentence colorably alleged to rest upon a constitutionally

impermissible factor, such as the defendant’s race or religion.”

United States v. Guillen, 561 F.3d 527, 531 (D.C. Cir. 2009);

accord United States v. Cline, 27 F.4th 613, 616 (8th Cir. 2022)

(appeal waiver is unenforceable if the court “selects a sentence

based on an impermissible factor such as race or religion”).

     Here, the district court, in stating its justification for

the sentence it imposed, referred to Melzer’s belonging to a

Satanic group and his hostility to a particular set of religious

beliefs. And the court indicated its view that “those values,”

that Melzer disliked, are “good for civilization.” A.129. This

case, therefore, presents a colorable that a constitutionally

impermissible factor — religion — here, the defendant’s

opposition to a particular religions that the court appeared to

value as being beneficial for civilization. The waiver of appeal,

therefore, should be deemed unenforceable.




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2. Ethan Melzer must be resentenced.4

     Sentencing courts traditionally have discretion to “conduct

an inquiry broad in scope, largely unlimited either as to the

kind of information [they] may consider, or the source from which

it may come.” Pepper v. United States, 562 U.S. 476, 489 (2011)

(quoting United States v. Tucker, 404 U.S. 443, 446 (1972)); see

also 18 U.S.C. § 3661 (“No limitation shall be placed on the

information concerning the background . . . of a person convicted

of an offense which a court of the United States may . . .

consider for the purpose of imposing an appropriate sentence.”).

That discretion “[o]f course . . . is subject to constitutional

constraints.” Pepper, 562 U.S. at 489 n.8 (citing United States

v. Leung, 40 F.3d 577, 586 (2d Cir. 1994)).           The constitutional

guarantee of due process circumscribes a court’s discretion to

consider matters such as religion in determining the length of

the sentence. “A defendant’s right to due process is violated if

he is sentenced based on ‘factors that are constitutionally

impermissible or totally irrelevant to the sentencing process,



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        Standard of review: Because a determination of whether the
district    court   improperly   considered    a   constitutionally
impermissible factor is a pure question of law, it is reviewed de
novo. See United States v. Kaba, 480 F.3d 152, 156 (2d Cir. 2007)
(reviewing de novo claim court imposed based on an unconstitutional
factor — “the defendant’s national origin”). Although appellant did
not object to the court’s comments, this Court applies an exception
to the contemporaneous objection rule for unobjected-to claims of
unconstitutional bias at sentencing. Kaba, 480 F. 3d at 158; Leung,
40 F. 3d at 586.

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such as for example the race, religion, or political affiliation

of the defendant.’” Bates v. Secretary Florida Dept. of

Corrections, 768 F.3d 1278, 1289 (11th Cir. 2014) (quoting Zant

v. Stephens, 462 US. 862, 885 (1983)); accord Deyton v. Keller,

682 F.3d 340, 346 (4th Cir. 2012) (“The Supreme Court’s decision

in Zant bars a sentencing judge from relying on the religion ...

of the defendant in determining the appropriate term of

imprisonment”) (internal quotation marks omitted).

     Although the Constitution “does not require a person to

surrender his or her religious beliefs upon the assumption of

judicial office[,] courts ... cannot sanction sentencing

procedures that create the perception of the bench as a pulpit

from which judges announce their personal sense of religiosity

and simultaneously punish defendants for offending it.” United

States v. Bakker, 925 F.2d 728, 740 (4th Cir. 1991).

     In this case, as part of its explanation for the lengthy

prison sentence it imposed, the district court made statements

indicating a bias against Melzer because of his hostility to

“Judeo-Christian values.” S.45; A.129. The court then commented

that “Judeo and Christian values” are “good for civilization.”

S.45; A.129. These comments would permit a reasonable observer to

conclude that the district court’s sentence in this case was

affected by the defendant’s hostility toward “Judeo and Christian

values” —— values that, in the court’s view, are good for


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civilization. A reasonable observer could infer that the court

was telling Melzer that one of the reasons for the lengthy was

because he opposed “Judeo and Christian values.” As noted, the

court made a value-judgment about these religious values, saying

they were “good for civilization.” Because the court incorporated

these statements into its justification for the sentence, an

observer could infer that the defendant’s dislike of a religion

favored by the court affected the sentence. The comments

indicated the court viewed his dislike of Judeo and Christian

values as an aggravating factor in the offense.

     The court’s comments, therefore, created a “sufficient risk

that a reasonable observer, hearing or reading the quoted

remarks, might infer, however incorrectly,” that Melzer’s

opposition to Judeo-Christian values “played a role in

determining [his] sentence.” See Kaba, 480 F.3d at 157

(inappropriate reference to national origin); Leung, 40 F. 3d at

5886-87 (same). The question is not whether the court actually

harbored a bias toward Mr. Melzer based on his views about any

particular set of religious beliefs. In Leung and Kaba, this

Court was confident that the district courts in those cases

“harbored no bias” based on the defendants’ national origin,

alien status, or any other prohibited factor. Kaba, 480 F. 3d at

158; Leung, 40 F. 3d at 586. But the Court held that the “focus

of our analysis” is not “on the court’s motivation[.]”                Kaba, 480


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F.3d at 158. “The creation of at least the appearance of

unfairness requires a remand for re-sentencing.” Kaba, 480 F.3d

at 158.

     Thus, “proof of actual bias” is not “necessary to warrant

vacatur of the sentence.” Kaba, 480 F.3d at 156. This is because,

to perform its function, “justice must satisfy the appearance of

justice.” Offut v. United States, 348 U.S. 11, 14 (1954); accord

Kaba, 480 F.3d at 156 (quoting United States v. Edwards-Franco,

885 F.2d 1002, 1005 (2d Cir. 1989), which in turn quotes Offut,

id. at 14). In other words, for justice to be done, it must also

appear to be done. And as a consequence, “‘even the appearance

that a sentence reflects’” a district court’s consideration of a

constitutionally impermissible factor in determining a

defendant’s sentence “‘will ordinarily require a remand for

resentencing.’” See Kaba, 480 F.3d at 156 (quoting Leung, 40 F.3d

at 586); United States v. Fiore, 381 F.3d 89, 96-97 (2d Cir.

2004).

     Additionally, the creation of this appearance of unfairness

requires that the sentence be vacated and the case remanded to a

different judge. Kaba, 480 F.3d at 159 (“the better course is to

remand to a different judge for re-sentencing as a matter of

course, irrespective of whether there was actual bias or reason

to think that bias in th[e] particular case was perceived”);

Leung, 40 F.3d at 587 (despite Circuit’s confidence the district


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court was not biased, “the appearance of justice is better

satisfied by assigning to a different judge”); see also United

States v. Aine, 386 Fed. App’x 16, 22 (2d Cir. 2010)(same).

                                CONCLUSION

     The Court should vacate Ethan Melzer’s sentence and remand

the case for resentencing by a different district judge.

Dated:    New York, New York
          July 5, 2023


                                   Respectfully submitted,


                                   FEDERAL DEFENDERS OF NEW YORK, INC.
                                      APPEALS BUREAU

                                          Darrell Fields
                                   By:______________________________
                                   DARRELL FIELDS
                                   Attorney for Defendant-Appellant
                                      ETHAN PHELAN MELZER
                                   52 Duane Street, 10th Floor
                                   New York, New York 10007
                                   Tel.: (212) 417-8742




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                        CERTIFICATE OF SERVICE

     I certify that a copy of this Brief has been served by
CM/ECF on the United States Attorney/S.D.N.Y.; Attention: SAM
ADELSBERG, ESQ., Assistant United States Attorney, One St.
Andrew’s Plaza, New York, New York 10007.

Dated:   New York, New York
         July 5, 2023


                                      Darrell Fields
                                   DARRELL FIELDS
                                   Assistant Federal Defender




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            CERTIFICATE OF COMPLIANCE WITH RULE 32(a)

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Attorney for Appellant ETHAN PHELAN MELZER

Dated:    New York, New York
          July 5, 2023


                                      Darrell Fields
                                   DARRELL FIELDS
                                   Assistant Federal Defender




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